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          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-849V
                                       Filed: April 24, 2015

****************************
MARY H. DAHL,              *
                           *
              Petitioner,  *                                Attorney Fees and Costs;
v.                         *                                Stipulation
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
              Respondent.  *
                           *
****************************

Milton Clay Ragsdale, IV, Ragsdale LLC, Birmingham, AL, for petitioner.
Heather Lynn Pearlman, United States Department of Justice, Washington, DC, for
respondent.

                        DECISION ON ATTORNEY FEES AND COSTS 1

Vowell, Special Master:

         On September 15, 2014, Mary Dahl (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq, 2 [the “Vaccine Act” or “Program”]. Petitioner alleged that, as a result of receiving
an influenza vaccine on November 23, 2012, she suffered a shoulder injury the residual
effects of which lasted more than six months. (See Petition at 1-2 (ECF No. 1).) On
April 22, 2015, I issued a decision awarding compensation to petitioner based on a
proffer filed by respondent.


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, it will be
posted on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2006).
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       On April 24, 2015, the parties filed a Stipulation of Fact Concerning Attorneys’
Fees and Costs. (ECF No. 23.) According to the stipulation, the parties agree upon a
total award of attorneys’ fees and costs to petitioner in the amount of $21,581.81. (Id.)
In accordance with General Order #9, petitioner’s counsel represents that petitioner
incurred no out-of-pocket expenses. (Id.)

      The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42
U.S.C. § 300aa-15(e). I find the proposed amount to be reasonable.

      Accordingly, I award the total $21,581.81 3 as a lump sum in the form of a
check jointly payable to petitioner and petitioner’s counsel M. Clay Ragsdale.

        The clerk of the court shall enter judgment in accordance herewith. 4


IT IS SO ORDERED.


                                                                s/Denise K. Vowell
                                                                Denise K. Vowell
                                                                Special Master




3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, 42 U.S.C. § 300aa-15(e)(3) prevents an attorney from charging or collecting fees (including
costs) that would be in addition to the amount awarded herein. See generally Beck v. Sec’y HHS, 924
F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
